 

UNITED STATES DISTRICT cots . “
SOUTHERN DISTRICT OF NEW YORK. re
O07 "
In re Terrorist Attacks on September 11, 2001 | 03 MDL 1570 (GBD) SN oN
ECF Case

 

 
 
 

 

 

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This document relates to: -

Ashton et al. v. al Qaeda Islamic Army, et al. , 02-cv- -6977 (GBD)\SN) (and member case Betru et
al. y. Islamic Republic of Iran, 18-cv-8297 (GBD)(SN))

SE 14. ORDER OF JUDGMENT ON BEHALF OF ASHTON 22
PLAINTIFFS IDENTIFIED AT EXHIBIT A

Upon consideration of the evidence and arguments submitted by Plaintiffs identified in
Exhibit A to this Order, plaintiffs in Ashton et al. v, Al Oaeda Islamic Arnvy et al., 02-cv-6977
(S.D.N.Y.) (GBD) (SN) (“Ashton”), who are each the estate of a victim killed in the terrorist
attacks on September | 1, 2001, and the Judgment by Default for liability only against the Istamic
Republic of Tran (“Iran”) entered on 08/26/2015, together with the entire record in this case, it is
hereby;

ORDERED that service of process was effected upon tran in accordance with 28 U.S.C.
§ 1608(a) for sovereign defendants;

ORDERED that final judgment is entered against Iran and on behalf of the Plaintiffs in
Ashton, as identified in the attached who are the Personal Representatives of the estates of victims
killed in the terrorist attacks on September 11, 2001, as described in Exhibit A;

ORDERED that Plaintiffs, on behalf of the estates identified in Exhibit A, are awarded
economic damages as set forth in Exhibit A and as supported by the expert reports and analyses
submitted as Exhibit C of the Declaration of James P. Kreindler, Esq.;

ORDERED that Plaintiffs, on behalf of the estates identified in Exhibit A, are awarded

final damages judgments that include the economic loss listed in Exhibit A as well as
compensatory damages for decedents’ pain and suffering in an amount of $2,000,000 per estate,
with the final damages judgment set forth in Exhibit A;

ORDERED that the Ashton Plaintiffs identified in Exhibit A are awarded prejudgment
interest of 4.96 percent per annum, compounded annually, running from September 11, 2001 until
the date of judgment;

ORDERED that Plaintiffs identified in Exhibit A may submit an application for punitive
damages, or other damages (to the extent such awards have not previously been ordered), at a later
date consistent with any future rulings made by this Court on this issue; and it is

ORDERED that the remaining Ashron Plaintiffs not appearing on Exhibit A, may submit
in later stages applications for damages awards, and to the extent they are for solatium or by estates
for compensatory damages for decedents’ pain and suffering from the September J 1, 2001 attacks,
they will be approved consistent with those approved herein for other plaintiffs in this action,

including the Plaintiffs appearing on Exhibit A.

Dated: New York, New York

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SO ORDERED:

Gre B Darwls

RGG B. DANIELS
United States District Judge

 
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EXHIBIT A
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